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           ORDERED in the Southern District of Florida on June 2, 2014.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                           (MIAMI, DIVISION)

          In re:                                       :               CASE NO.: 13-30690-AJC
                                                       :
          MABEL MARIN,                                 :               CHAPTER 7
                                                       :
                   Debtor.                             /

                            AGREED ORDER DENYING WITHOUT PREJUDICE
                             THE TRUSTEE’S MOTION TO DENY DISCHARGE
                        IN ACCORDANCE WITH APPROVED SETTLEMENT [D.E. 60]

                   THIS CAUSE came before the Court on May 28th, 2014 at 10:30 A.M. to consider the

          Chapter 7 Trustee’s Motion to Deny Discharge in Accordance with Approved Settlement [D.E.

          60] (the “Motion”). The Court considered the Motion and the record herein, and has been

          otherwise advised that the matter is agreed. Accordingly, it is:

                   ORDERED AND ADJUDGED as follows:

                   1.    The Trustee’s Motion to Deny Discharge in Accordance with Approved

          Settlement [D.E. 60] is DENIED WITHOUT PREJUDICE.

                   2.    The Settlement Amount, pursuant to the Settlement Order [D.E. 56] is

          $12,400.00. The parties acknowledge that the sum of $800.00 has already been paid.
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         3.       The outstanding sum of $11,600.00 is due under the terms of the Settlement Order

[D.E. 58]. On or before August 1, 2014, the Debtor shall pay the Trustee the total sum of

$11,600.00.

         4.       If the Debtor fails to comply with the provisions of Paragraph 3 of this Order,

then the Trustee is authorized to: (i) proceed under the Default Provisions of the parties

settlement, as approved in the Settlement Order [D.E. 58]; and (ii) submit to the Court for

signature an Order to Show Cause Why the Debtor’s Discharge Should Not Be Denied or

Revoked for failure to comply with the Settlement Order [D.E. 58] and this Order. To be clear,

however, the Debtor’s discharge will not be denied or revoked without notice and hearing.

         5.       Nothing in this Order shall be deemed to waive or modify the Trustee’s rights to

proceed under the Default Provisions of the Settlement Order [D.E. 58] and to seek any other

applicable relief available under the Bankruptcy Code.

         6.       This Court retains jurisdiction to enforce the terms of this Order.

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Submitted by:

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Copies furnished to:
Rachel L. Ahlum, Esq.

(Attorney Rachel Ahlum is directed to serve copies of this Order upon the Debtor, Debtor’s attorney, Trustee, U.S.
Trustee and all parties who have requested notice, and to file a Certificate of Service with the Court confirming such
service.)
